          Case 2:05-cr-00260-RSL           Document 165        Filed 08/14/07      Page 1 of 3




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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR05-260-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   PEGGY LEE WHITE,                     )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An initial hearing on supervised release revocation in this case was scheduled before me

15 on August 14, 2007. The United States was represented by AUSA Todd Greenberg and the

16 defendant by Robert M. Leen. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about May 5, 2006 by the Honorable Robert S.

18 Lasnik on a charge of Interstate Transportation in Furtherance of Prostitution, and sentenced to

19 time served (212 days), 3 years supervised release.

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant submit to search, participate in drug treatment, abstain from alcohol, participate in

22 mental health treatment, provide access to financial information, refrain from self-employment or

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1
           Case 2:05-cr-00260-RSL         Document 165         Filed 08/14/07       Page 2 of 3




01 employment by friends or relatives without approval of probation officer, get approval for all

02 employment from probation officer, not work for cash, provide regular pay stubs to probation

03 officer, and not possess any identification documents in any but defendant’s true identity. (Dkt.

04 119.)

05          On August 18, 2006, defendant admitted violating the conditions of supervised release

06 by failing to participate in and complete drug dependency treatment, failing to participate in and

07 complete mental health treatment, and failing to notify her probation officer within 10 days of

08 change of residence. (Dkt. 143.) Defendant was sentenced to four months in custody, followed

09 by 30 months of supervised release. (Dkt. 149.)

10          On December 15, 2006, defendant admitted violating the conditions of supervised release

11 by failing to successfully participate in and complete a community corrections

12 center/comprehensive sanctions center placement and providing false information to a police

13 officer. (Dkt. 157.) Defendant was sentenced to six months in custody, followed by 24 months

14 of supervised release. (Dkt. 162.)

15          In an application dated June 6, 2007 (Dkt. 163), U.S. Probation Officer Christopher S.

16 Luscher alleged the following violations of the conditions of supervised release:

17          1.     Failing to reside in and satisfactorily participate in a residential reentry center

18 program (RRC) on or about June 1, 2007, in violation of the special condition requiring her to

19 reside in an RRC for up to 120 days.

20          2.     Failing to report to the probation office, on or before June 5, 2007, in violation of

21 the mandatory condition that she report to the probation office in the district to which she was

22 released within 72 hours of release from custody of the Bureau of Prisons.

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2
          Case 2:05-cr-00260-RSL          Document 165        Filed 08/14/07      Page 3 of 3




01          Defendant was advised in full as to those charges and as to her constitutional rights.

02          Defendant admitted the alleged violations and waived any evidentiary hearing as to

03 whether they occurred.

04          I therefore recommend the Court find defendant violated her supervised release as alleged,

05 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

06 set before Judge Lasnik.

07          Pending a final determination by the Court, defendant has been released on the conditions

08 of supervised release.

09          DATED this 14th day of August, 2007.



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11                                                Mary Alice Theiler
                                                  United States Magistrate Judge
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14 cc:      District Judge:                Honorable Robert S. Lasnik
            AUSA:                          Todd Greenberg
15          Defendant’s attorney:          Robert M. Leen
            Probation officer:             Christopher S. Luscher
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3
